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    6 SCHOOL; BORNA MOZAFARI AND MARLA KELLER
      AS TRUSTEES FOR CHEAP EASY ON-LINE TRAFFIC
    7 SCHOOL PENSION PLAN; BORNA MOZAFARI AS
      TRUSTEE FOR THE CHEAP EASY ON-LINE PROFIT
    8 SHARING PLAN; EASY ON LINE TRAFFIC
      SCHOOL.COM, INC.; MARLA KELLER AS TRUSTEE
    9 FOR THE MARLA KELLER PENSION PLAN AND
      MARLA KELLER 401(K) PLAN
   10
   11                           UNITED STATE DISTRICT COURT
   12                      SOUTHERN DISTRICT OF CALIFORNIA
   13
   14   CHEAP EASY ONLINE TRAFFIC                Case No. 16-cv-02644 WQH-DHB
        SCHOOL; BORNA MOZAFARI AND
   15   MARLA KELLER AS TRUSTEES FOR             FIRST AMENDED COMPLAINT FOR
        CHEAP EASY ON-LINE TRAFFIC               DAMAGES
   16   SCHOOL PENSION PLAN; BORNA
        MOZAFARI AS TRUSTEE FOR THE              1. BREACH OF FIDUCIARY DUTIES
   17   CHEAP EASY ON-LINE PROFIT                ERISA § 404(A)(1), 29 U.S.C. 1104(A)(1)
        SHARING PLAN; EASY ON LINE
   18   TRAFFIC SCHOOL.COM, INC.; MARLA          2. BREACH OF CONTRACT
        KELLER AS TRUSTEE FOR THE
   19   MARLA KELLER PENSION PLAN AND            3. PROFESSIONAL NEGLIGENCE
        MARLA KELLER 401(K) PLAN
   20                                            4. NEGLIGENCE
                  Plaintiffs,
   21                                            5. FRAUD
             v.
   22                                            6. NEGLIGENT
      PETER L. HUNTTING & CO., INC.; SMI         MISREPRESENTATION
   23 PENSIONS; SHEFFLER CONSULTING
      ACTUARIES INC.; ESTATE OF PETER
   24 L. HUNTTING; MIKE EDWARDS;                 Judge: Hon. William Q. Hayes
      WILLIAM SHEFFLER; ECONOMIC                 Dept. Courtroom 14B (Annex)
   25 GROUP PENSION SERVICES, INC.; and          Magistrate: Hon. David H. Bartick
      DOES 1 to 100, inclusive,
   26
                  Defendants.                    Complaint Filed: October 24, 2016
   27

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                                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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    1            Plaintiffs CHEAP EASY ONLINE TRAFFIC SCHOOL; BORNA MOZAFARI
    2   AND MARLA KELLER AS TRUSTEES FOR CHEAP EASY ON-LINE TRAFFIC
    3   SCHOOL PENSION PLAN; BORNA MOZAFARI AS TRUSTEE FOR THE CHEAP
    4   EASY ON-LINE PROFIT SHARING PLAN; EASY ON LINE TRAFFIC
    5   SCHOOL.COM, INC.; and MARLA KELLER AS TRUSTEE FOR THE MARLA
    6   KELLER PENSION PLAN AND MARLA KELLER 401(K) (singularly “Plaintiff” and
    7   collectively "Plaintiffs") hereby file this First Amended Complaint against PETER L.
    8   HUNTTING & CO., INC.; SMI PENSIONS; SHEFFLER CONSULTING ACTUARIES
    9   INC.; ESTATE OF PETER L. HUNTTING; MIKE EDWARDS; WILLIAM
   10   SHEFFLER; ECONOMIC GROUP PENSION SERVICES, INC.; and DOES 1 through
   11   100 (singularly “Defendant” and collectively "Defendants"), and allege as follows:
   12                                       THE PARTIES
   13     1. Plaintiff CHEAP EASY ONLINE TRAFFIC SCHOOL (“CHEAP”) is a
   14   California Corporation, which hired Defendant PETER L. HUNTTING & CO, INC. to
   15   create the defined benefit plan CHEAP EASY ON-LINE TRAFFIC SCHOOL PENSION
   16   PLAN (“CHEAP PENSION PLAN”), and the CHEAP EASY ON-LINE PROFIT
   17   SHARING PLAN (“CHEAP PROFIT SHARING PLAN”), and is the sponsor of both
   18   Plans.
   19     2. Plaintiffs BORNA MOZAFARI and MARLA KELLER AS TRUSTEES FOR
   20   THE CHEAP EASY ON-LINE TRAFFIC SCHOOL PENSION PLAN are individuals
   21   and trustees for the CHEAP PENSION PLAN.
   22     3. Plaintiff BORNA MOZAFARI AS TRUSTEE FOR THE CHEAP EASY ON-
   23   LINE PROFIT SHARING PLAN is an individual and the trustee of the CHEAP PROFIT
   24   SHARING PLAN.
   25     4. Plaintiff EASY ON LINE TRAFFIC SCHOOL.COM, INC. is a California
   26   Corporation, which hired Defendant PETER L. HUNTTING & CO, INC. to create the
   27   defined benefit plan MARLA KELLER PENSION PLAN (“KELLER PENSION
   28   PLAN”), and the MARLA KELLER 401K PLAN (“KELLER 401K PLAN”), and is the
                                                   2
                                                        FIRST AMENDED COMPLAINT FOR DAMAGES
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    1   sponsor of both Plans.
    2     5. Plaintiff MARLA KELLER AS TRUSTEE FOR THE MARLA KELLER
    3   PENSION PLAN is an individual and trustee of the KELLER PENSION PLAN.
    4     6. Plaintiff MARLA KELLER AS TRUSTEE FOR THE MARLA KELLER 401K
    5   PLAN is an individual and trustee of the KELLER 401K PLAN.
    6     7. The CHEAP PENSION PLAN, CHEAP PROFIT SHARING PLAN, KELLER
    7   PENSION PLAN, and KELLER 401K PLAN will be referred to collectively within this
    8   complaint as the “PLANS,” and individually in the singular, “PLAN.” The CHEAP
    9   PENSION PLAN and the KELLER PENSION PLAN will also be referred to collectively
   10   as the “PENSION PLANS.”
   11      8. Defendant PETER L. HUNTTING & CO., INC. (“HUNTTING”) created,
   12   administered and advised Plaintiffs regarding the PLANS until some time after the death
   13   of its principal PETER L. HUNTTING.
   14      9. Defendant SHEFFLER CONSULTING ACTUARIES INC. (“SCA”) was at all
   15   times the actuary that advised Plaintiffs regarding the PLANS.
   16      10. Defendant SMI PENSIONS (“SMI”) is the successor to HUNTTING for both
   17   assets and liabilities of HUNTTING, as well as the successor administrator who advised
   18   Plaintiffs regarding the PLANS.
   19      11. SMI merged with HUNTTING and SCA soon after the death of PETER L.
   20   HUNTTING, and each of the companies assumed joint responsibility for the liabilities of
   21   the others.
   22      12. Defendant ESTATE OF PETER L. HUNTTING (“ESTATE”) is the estate of
   23   PETER L. HUNTTING, the deceased principal of HUNTTING. Plaintiffs proceed
   24   against ESTATE pursuant to California Probate Code §§ 550 and 554, for purposes of
   25   pursuing insurance proceeds, only; subject to later amendment upon identification of any
   26   personal representative of the ESTATE.
   27      13. Defendant MIKE EDWARDS (“EDWARDS”) was a HUNTTING
   28   employee/principal, then an SMI employee/principal, who participated in the
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    1   administration of the PLANS, and provided advice to Plaintiffs regarding the PLANS.
    2      14. Defendant WILLIAM J. SHEFFLER is the principal of SCA and SMI, which
    3   succeeded and merged with HUNTTING.
    4      15. Defendant ECONOMIC GROUP PENSION PLANS, INC. merged with SMI,
    5   and assumed joint responsibility for SMI’s liabilities.
    6      16. Defendants DOES 1 through 100, inclusive, are the fictitious names of those
    7   Defendants whose true names are unknown to Plaintiffs, and whose true capacities,
    8   whether as individuals, corporations, partnerships, joint venturers and/or associations, are
    9   also unknown to Plaintiffs, and when such true names are ascertained, the complaint will
   10   be amended to include those names. Plaintiffs are informed and believe and thereon
   11   allege that, whenever and wherever in this complaint, any Defendants are the subject of
   12   any charging allegations by Plaintiffs, said Does are also responsible in some manner for
   13   the events and happenings, and it shall be deemed that said Defendants, DOES 1 through
   14   100, inclusive, and each of them, are likewise the subject of said charging allegations
   15   herein by Plaintiffs.
   16      17. At all times pertinent herein, Defendants, and each of them, were the agents,
   17   servants, and employees of each of the other Defendants herein, and at the same time and
   18   place of the events hereinafter described, were acting within the course and scope of said
   19   agency and employment with the permission and consent of the other Defendants and
   20   each of them. Defendants are, and each of them is, successors in interest to the other
   21   Defendants. Defendants are, and each of them is, the alter ego of the other Defendants,
   22   and Defendants are essentially the extensions of each other, and jointly responsible for
   23   the liabilities of each of the others. As a result, all causes of action asserted hereunder
   24   are asserted as to each and every Defendant.
   25                                        JURISDICTION
   26      18. Jurisdiction of this Court arises pursuant to 28 U.S. Code § 1331 because Federal
   27   questions are involved; as well as pursuant to ERISA § 502(e)(1) and 29 U.S.C. §
   28   1132(e)(1).
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                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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    1      19. Venue is proper under ERISA § 502(e)(2) and 29 U.S.C. § 1132(e)(2) because
    2   the PLANS are administered, the breaches took place, and Defendants reside or may be
    3   found, in this district.
    4                                 GENERAL ALLEGATIONS
    5      20. Plaintiffs retained HUNTTING to create and administer the KELLER PENSION
    6   PLAN and the KELLER 401K PLAN in 2004, the CHEAP PENSION PLAN in 2005,
    7   and the CHEAP PROFIT SHARING PLAN in 2012.
    8      21. Plaintiffs are not experts regarding defined benefit plans, profit sharing plans, or
    9   401K plans. PETER L. HUNTTING represented to Plaintiffs that he and HUNTTING
   10   and his team (SCA, SMI, SHEFFLER, EDWARDS) were experts in defined benefit
   11   plans, profit sharing plans, and 401K plans, when initially selling his services, and
   12   throughout his relationship with Plaintiffs.
   13      22. On or about December 28, 2004, HUNTTING obtained a FEIN, created the
   14   PLAN documents, the Board resolution and meeting minutes, and prepared and filed all
   15   required IRS tax returns and other government filings on behalf of the KELLER
   16   PENSION PLAN, and the KELLER 401K. HUNTTING also instructed Plaintiffs
   17   regarding the amount of the initial contributions to fund each PLAN, and the required
   18   offsetting employee compensation to be paid.
   19      23. HUNTTING created the KELLER PENSION PLAN and KELLER 401K PLAN
   20   so that each had an initial effective date of January 1, 2004.
   21      24. On or about December 23, 2005, HUNTTING obtained a FEIN, created the
   22   PLAN documents, the Board resolution and meeting minutes, and prepared and filed all
   23   required IRS tax returns and other government filings on behalf of the CHEAP
   24   PENSION PLAN. HUNTTING also instructed Plaintiffs regarding the amount of the
   25   initial contribution to fund the PLAN, and any required offsetting employee
   26   compensation to be paid.
   27      25. HUNTTING created the CHEAP PENSION PLAN so that it had an initial
   28   effective date of January 1, 2005.
                                                       5
                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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    1      26. On or about December 14, 2012, HUNTTING obtained a FEIN, created the
    2   PLAN documents, the Board resolution and meeting minutes, and prepared and filed all
    3   required IRS tax returns and other government filings on behalf of the CHEAP PROFIT
    4   SHARING PLAN. HUNTTING also instructed Plaintiffs regarding the amount of the
    5   initial contribution to fund the PLAN, and any required offsetting employee
    6   compensation to be paid.
    7      27. HUNTTING created the CHEAP PROFIT SHARING PLAN so that it had an
    8   initial effective date of January 1, 2012.
    9      28. From the inception of each of the PLANS, HUNTTING retained SCA and
   10   SHEFFLER to provide actuarial services for the PLANS and assist HUNTTING with the
   11   administration of the PLANS, and advice to Plaintiffs regarding the PLANS.
   12   Additionally, HUNTTING and SHEFFLER and the SHEFFLER-related defendants,
   13   including SCA and SMI, worked in tandem to provide the administrative services and
   14   professional counseling to Plaintiffs regarding all aspects of the PLANS, including but
   15   not limited to annual contributions to and termination of the PENSION PLANS.
   16      29. Consistent with the contractual obligations owed to Plaintiffs and the PLANS,
   17   each year PETER L. HUNTTING and EDWARDS for HUNTTING and SHEFFLER for
   18   SCA and SMI would perform a review of the investment portfolio and performance for
   19   the PENSION PLANS, perform actuarial calculations, and determine the appropriate
   20   amount of the annual contributions to the investments for the respective PENSION
   21   PLANS, as well as the amount of salary compensation needed to balance the assets and
   22   liabilities within the PENSION PLANS.
   23      30. Plaintiffs relied on HUNTTING’s and its team’s purported expertise, and each
   24   year made the annual employer contributions HUNTTING told Plaintiffs could be made
   25   to the investment accounts for the PENSION PLANS.
   26      31. Over the years, Plaintiffs BORNA MOZAFARI and MARLA KELLER (who
   27   have been together as a couple over 30 years, but have been married since December 17,
   28   2014) asked PETER L. HUNTTING about whether if they ever married, the marriage
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                                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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    1   would cause a financial detriment to the PLANS. Peter L. Huntting told Plaintiffs
    2   repeatedly that no financial detriment would occur to the PLANS if Plaintiffs married.
    3      32. On November 4, 2014, PETER L. HUNTTING of HUNTTING and Plaintiffs
    4   met at PETER L. HUNTTING’s invitation to discuss the PENSION PLANS. No
    5   indication was given to Plaintiffs in advance of the meeting that there was any problem
    6   with the PENSION PLANS. However, at the November 4, 2014 meeting, PETER L.
    7   HUNTTING informed BORNA MOZAFARI and MARLA KELLER that the PENSION
    8   PLANS were both overfunded (PLAN assets exceeded PLAN liabilities), and had to be
    9   terminated, immediately. PETER L. HUNTTING told Plaintiffs that after termination all
   10   of the funds in the respective PENSION PLANS had to be rolled over into the CHEAP
   11   PROFIT SHARING PLAN and the KELLER 401K, respectively. It was understood by
   12   Plaintiffs that PETER L. HUNTTING’s/HUNTTING’s recommendations were formed in
   13   tandem with EDWARDS, SHEFFLER, SCA and SMI.
   14      33. Plaintiffs were not aware of the concept of overfunding before the November 4,
   15   2014 meeting with PETER L. HUNTTING, and he did not tell Plaintiffs at that meeting,
   16   or any time, the amount of the overfunding of each of the PENSION PLANS. PETER L.
   17   HUNTTING also did not disclose to Plaintiffs that there would be any financial
   18   consequences to Plaintiffs or the PLANS due to the overfunding and/or the termination
   19   and rollover remedy. He did not explain that the funds from the terminated PENSION
   20   PLANS needed to be rolled over into qualified replacement plans, or any limitations on
   21   the amounts that could be rolled over, or that there would be excise taxes and other
   22   penalties. He also did not inform Plaintiffs that non-vested employees would become
   23   fully vested and entitled to fully vested distributions as a result of the termination of the
   24   PENSION PLANS. Instead, PETER L. HUNTTING told Plaintiffs that the problem
   25   would be fixed by terminating the PENSION PLANS and rolling over all of the proceeds
   26   from the PENSION PLANS into the CHEAP PROFIT SHARING PLAN and the
   27   KELLER 401K, and that this plan of action needed to be executed, immediately.
   28      34. Plaintiffs relied upon HUNTTING and its team PETER L. HUNTTING,
                                                       7
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    1   EDWARDS, SHEFFLER, SCA, and SMI) regarding the need for termination and the
    2   remedy, and executed the paperwork that HUNTTING had pre-prepared and presented to
    3   them at the November 4, 2014 meeting to begin the termination process.
    4      35. During the November 4, 2014 meeting, Plaintiffs BORNA MOZAFARI and
    5   MARLA KELLER also discussed with PETER L. HUNTTING that they were now
    6   contemplating a date to get married, but would only proceed if he confirmed that there
    7   were not any financial ramifications or consequences to the PLANS. He told them at the
    8   meeting that the marriage would have no financial consequences to the PLANS.
    9   Plaintiffs relied upon this representation and prior representations by PETER L.
   10   HUNTTING and his team and went forward with their marriage. Had PETER L.
   11   HUNTTING told Plaintiffs that getting married would have an adverse financial effect on
   12   the PLANS, Plaintiffs would not have married.
   13      36. On November 4, 2014, PETER L. HUNTTING sent Plaintiffs a letter for each of
   14   the PENSION PLANS regarding the overfunding, and his and his team’s
   15   recommendation to terminate the PENSION PLANS and roll them over into the CHEAP
   16   PROFIT SHARING PLAN and the KELLER 401K PLAN. In his letters, PETER L.
   17   HUNTTING states, “it appears that your Plan is at a point where it is fully funded and
   18   can no longer absorb any more contributions as it is actually over-funded.” Again, he did
   19   not mention the amount of the overfunding of each of the PENSION PLANS, which was
   20   well over one million dollars for each PLAN. He also did not inform Plaintiffs of excise
   21   and income taxes owed for the overfunding, the consequences if the funds from the
   22   PENSION PLANS were not rolled over into qualified replacement plans, or that non-
   23   vested employees would become fully vested and entitled to fully vested distributions as
   24   a result of the termination of the PENSION PLANS.
   25      37. On November 5, 2014, PETER L. HUNTTING sent Plaintiffs an email regarding
   26   the overfund issue and termination recommendation for the PENSION PLANS. He did
   27   not inform Plaintiffs of the amounts of the overfunding for each of the PENSION
   28   PLANS, or the damages and other ramifications to Plaintiffs.
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                                                        FIRST AMENDED COMPLAINT FOR DAMAGES
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    1      38. After the November 4, 2014 meeting, HUNTTING quickly prepared the
    2   remaining termination paperwork for the PENSION PLANS and the Plaintiffs executed
    3   that paperwork at HUNTTING’s instruction.
    4      39. On December 5, 2014, PETER L. HUNTTING passed on. Plaintiffs continued to
    5   work with HUNTTING’s EDWARDS to complete the termination process for the
    6   PLANS. On numerous occasions throughout the process in 2014 and 2015, EDWARDS
    7   reiterated PETER L. HUNTTING’s advice that the termination of the PENSION PLANS
    8   needed to be done. EDWARDS never revealed the amount of the overfunding of the
    9   PENSION PLANS. EDWARDS never informed Plaintiffs of any consequences, taxes or
   10   penalties associated with terminating the PENSION PLANS and rolling over all of the
   11   proceeds into the CHEAP PROFIT SHARING PLAN and the KELLER 401K.
   12      40. In communications with EDWARDS about the terminations of the PENSION
   13   PLANS, after PETER L. HUNTTING’s death, Plaintiffs relayed to EDWARDS that they
   14   were getting married on December 17, 2014, and were doing so, specifically, in reliance
   15   upon PETER L. HUNTTING’s advice that the marriage would not have adverse financial
   16   impact on the PLANS. EDWARDS failed to tell Plaintiffs that the marriage would cause
   17   a financial consequence to the PLANS.
   18      41. In mid-December 2014, almost 2.4 million dollars was rolled over from the
   19   terminated KELLER PENSION PLAN to the KELLER 401K.
   20      42. After the KELLER PENSION PLAN termination and rollover, EDWARDS and
   21   HUNTTING continued to recommend the termination of, and work on the termination
   22   paperwork for, the CHEAP PENSION PLAN.
   23      43. On March 6, 2015, EDWARDS informed Plaintiffs that he was now with SMI.
   24      44. On or about May 14, 2015, Plaintiffs met with SHEFFLER and EDWARDS OF
   25   SMI about the termination of the PENSION PLANS. SHEFFLER and EDWARDS
   26   continued to recommend the termination of the PENSION PLANS as an appropriate fix,
   27   but did not reveal the amount of the overfunding of the PENSION PLANS, provide other
   28   potential options, or explain the financial consequences which the terminations and
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     1   rollover would cause.
     2      45. On or about July 7, 2015, as supplemented with later issued dividends, a total of
     3   almost 3 million dollars was rolled over from the CHEAP PENSION PLAN to the
     4   CHEAP PROFIT SHARING PLAN.
     5      46. On October 14, 2015, EDWARDS sent an email to Plaintiffs in which there is a
     6   vague reference “additional benefits” needed in the CHEAP PENSION PLAN to pass
     7   IRS non-discrimination testing, and the need to issue “revised reports” to the IRS
     8   regarding the “additional benefits.” The “additional benefits” were Qualified Non-
     9   Elective Benefits (“QNECs”), the payment of which was necessitated by the controlled
    10   group created by the marriage of the Plaintiffs BORNA MOZAFARI and MARLA
    11   KELLER, which Plaintiffs had previously been informed by Defendants would not cause
    12   any financial detriment to the PLANS. Plaintiffs did not understand the reference to
    13   these “additional benefits” in the email, but since EDWARDS claimed it was “good
    14   news,” they were not concerned.
    15      47. On December 18, 2015, SMI employee Elizabeth Buckles sent Plaintiffs an email
    16   wherein for the first time in any communication from Defendants, Plaintiffs were
    17   informed of an amount of a PENSION PLAN overfund (per Defendants). The amount of
    18   the overfunding in the CHEAP PENSION PLAN rolled over to the CHEAP PROFIT
    19   SHARING PLAN was stated by Ms. Buckles to be “$902,803.” Ms. Buckles also
    20   informed Plaintiffs in this email that there would be at least a “20% excise tax” owed on
    21   this overfunded amount, if a “50% excise tax” could somehow be avoided. There was no
    22   mention by Ms. Buckles of the additional income taxes, interest and penalties that would
    23   also be owed on the overfunding for each PLAN.
    24      48. Plaintiffs were shocked by the information in Elizabeth Buckle’s December 18,
    25   2015 email, and contacted Ms. Buckles by phone, during which she informed Plaintiffs
    26   that the MARLA KELLER PENSION PLAN that had been rolled over into the MARLA
    27   KELLER 401K was also overfunded by over $900,000.
    28      49. Plaintiffs contend that each of the PENSION PLANS was overfunded by well
                                                     10
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     1   over a million dollars. As instructed by Defendants, 100% of the funds in each
     2   PENSION PLAN, including all of the overfunding for each, was rolled over into the
     3   CHEAP PROFIT SHARING PLAN and the MARLA KELLER 401K, upon the
     4   termination of the PENSION PLANS.
     5                                 FIRST CAUSE OF ACTION
     6                              BREACH OF FIDUCIARY DUTIES
     7                              ERISA 404(a)(1), 29 U.S.C. § 1104(a)
     8                                    (Against All Defendants)
     9      50. Plaintiffs incorporate by reference each and every allegation contained in the
    10   paragraphs 1 through 49 above, as though fully set forth herein.
    11      51. Plaintiffs are entitled to bring this action as fiduciaries for the PLANS pursuant
    12   to 29 U.S.C. 1132(a)(2).
    13      52. Defendants are each fiduciaries under ERISA § 3(21)(A), 29 U.S.C. §
    14   1002(21)(A), and 26 U.S. Code § 4975(e)(3) because each exercised discretionary
    15   authority and control in the administration and management of the PLANS; the creation
    16   of the annual reviews of the PLANS, and evaluation of the investments of the PLANS; in
    17   determinations regarding the appropriate amount of annual employer contributions for the
    18   investments of the PLANS and salary offsets needed; and in the determination that the
    19   PENSION PLANS must be terminated and rolled over into the CHEAP PROFIT
    20   SHARING PLAN and the KELLER 401K, respectively.
    21      53. ERISA imposes strict fiduciary duties upon Defendants as plan fiduciaries.
    22   ERISA § 404(a)(1)(B) and 29 U.S.C. § 1104(a)(1)(B) states, in relevant part, that a plan
    23   fiduciary must discharge his/its duties with “care, skill, prudence and diligence…”
    24      54. ERISA § 409(a) and 29 U.S.C. § 1109(a) state, in relevant part:
    25      Any person who is a fiduciary with respect to a plan who breaches any of the
            responsibilities, obligations, or duties imposed upon fiduciaries by this title
    26      shall be personally liable to made good to such plan any losses to the plan
            resulting from each such breach, and to restore to such plan any profits of such
    27      fiduciary which have been made through each such breach, and to restore to
            such plan any profits of such fiduciary which have been made through use of
    28      assets of the plan by the fiduciary, and shall be subject to such other equitable
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     1      or remedial relief as the court may deem appropriate…
     2      55. Defendants breached their fiduciary duties, to Plaintiffs and the PLANS, to act
     3   with “care, skill, prudence and diligence…” by continuing to instruct Plaintiffs to make
     4   six-figure annual contributions to the pension PLAN for several years despite the
     5   PENSION PLANS being overfunded.
     6      56. Defendants breached their fiduciary duties to Plaintiffs and the PLAN by failing
     7   to adequately assess the PLAN’s investments, performing incorrect actuarial calculations
     8   or failing to perform such calculations, not taking into account pertinent tax codes and
     9   statutory sections when advising Plaintiffs about the PLAN, all resulting in improper
    10   advice to Plaintiffs and overfunding of the PENSION PLANS in an amount over one
    11   million dollars for each PLAN.
    12      57. Defendants breached their fiduciary duties to Plaintiffs and the PLANS by
    13   attempting to cover up the amount of the overfunding of the PENSION PLANS, the
    14   consequences of the overfunding, and then instructing Plaintiffs erroneously that the
    15   termination of the PENSION PLANS and rolling the proceeds over into the CHEAP
    16   PROFIT SHARING PLAN and the KELLER 401K would correct the overfund issue, in
    17   an attempt to cover up their own liabilities. Instead, the termination of the PENSION
    18   PLANS and rollover into the CHEAP PROFIT SHARING PLAN and the KELLER
    19   401K PLAN created excise and income tax damages of over a million dollars for each
    20   PLAN for violation of Internal Revenue Code § 4980(d)(2) for Qualified Replacement
    21   Plans, and making it impossible to correct and absorb the overfunding from each
    22   PENSION PLAN within the seven years time period allowed by the IRS. Termination of
    23   the PENSION PLANS also made non-vested employees fully vested, requiring full
    24   distributions of benefits to employees who would not have been entitled to such benefits
    25   absent Defendants’ erroneous advice to terminate the PENSION PLANS.
    26      58. Defendants breached their fiduciary duties to Plaintiffs by failing to advise them
    27   that their marriage creating a controlled group would cause damages to the PLANS in the
    28   form of a responsibility for payment of Qualified Non-Elective Contributions (“QNECs”)
                                                     12
                                                          FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   by KELLER 401K for CHEAP employees.
     2      59. After Peter L. Huntting’s death, when Defendant SMI took over the
     3   administration of the Plans, Defendant’s SMI, Edwards, and ultimately Economic Group
     4   (when it merged with SMI) continued to breach the fiduciary duties of each by continuing
     5   to advise Plaintiffs to continue to terminate the Plans; not advising Plaintiffs to stop or
     6   reverse the Plan terminations; failing to advise of the amount of the overfunding of the
     7   Plans; and failing to advise and mitigate the monetary consequences to Plaintiffs of the
     8   overfunding and terminations of Plans. SMI and the related defendants also caused
     9   further damages to Plaintiffs by miscalculating the amount of benefits to be paid to the
    10   now vested employees from the proceeds of the terminated PENSION PLANS.
    11      60. As a result of Defendants’ breaches, and others which will be established
    12   according to proof, Plaintiffs have and will continue to incur damages, including payment
    13   of IRS excise taxes, income taxes, penalties, and interest for the overfunded amounts, and
    14   the rollover amounts in violation of Qualified Replacement Plan requirements and
    15   allowances, in amounts according to proof but exceeding over one million dollars for
    16   each PLAN; payment of extra QNECs as a result of the controlled group; distributions to
    17   employees who became fully vested as a result of the termination of the PENSION
    18   PLANS (and which Defendants also miscalculated in the employees’ favor); lost profits
    19   from investments foregone and other business ventures that overfund amounts would
    20   have been used to finance; new PLAN administrator’s fees; attorneys’, accountants’ and
    21   PLAN experts’ fees and costs; court costs; and related damages.
    22      61. Additionally, Plaintiffs are entitled to recover fees paid to Defendants, including
    23   annual fees for management, administration and actuarial fees for the PLANS, as well as
    24   the fees paid by Plaintiffs for the erroneously recommended terminations of the
    25   PENSION PLANS and rollovers, and related distributions and filings.
    26      62. Plaintiffs seek and are entitled to recover a judgment for damages, according to
    27   proof, attorneys’ and experts’ fees and costs, interest, costs of suit, and such other and
    28   further relief, as the court deems proper.
                                                       13
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1                               SECOND CAUSE OF ACTION
     2                                  BREACH OF CONTRACT
     3                                     (Against All Defendants)
     4      63. Plaintiffs incorporate by reference each and every allegation contained in the
     5   paragraphs 1 through 62 above, as though fully set forth herein.
     6      64. Plaintiffs contracted with Defendant HUNTTING on or about December 28,
     7   2004, December 23, 2005, and December 14, 2012 to create, manage and administer the
     8   PLANS in compliance with the documents for each PLAN and applicable statutes and
     9   code sections. Among HUNTTING’s duties owed Plaintiffs and the PLANS pursuant to
    10   the agreements were to annually review the PENSION PLANS’ investments, in
    11   conjunction with the PENSION PLANS’ documents and applicable tax statutes; perform
    12   actuarial calculations to determine and instruct Plaintiffs regarding the appropriate annual
    13   employer contribution to the investments for each of the PENSION PLANS, and any
    14   salary/compensation offsets needed; and advise Plaintiffs regarding the termination of the
    15   PLANS.
    16      65. Defendants HUNTTING breached its duties to Plaintiffs and the PLANS by
    17   continuing to instruct Plaintiffs to make six-figure annual employer contributions to the
    18   PENSION PLANS for years after the PENSION PLANS became overfunded.
    19      66. Defendant HUNTTING breached its duties to Plaintiffs and the PLAN by
    20   instructing Plaintiffs to terminate the PENSION PLANS due to the overfunding created
    21   by Defendants and rollover all proceeds into the CHEAP PROFIT SHARING PLAN and
    22   the KELLER 401K in violation of the Qualified Replacement Plan requirements codified
    23   in 26 U.S.C. § 4980(d)(2); failing to advise Plaintiffs of the excise tax, income tax,
    24   penalties, interest, and employee vesting consequences of termination of the PENSION
    25   PLANS; and erroneous advice about the purported non-effect of Plaintiffs’ marriage on
    26   the PLANS.
    27      67. Plaintiffs contracted with SMI on or about May 14, 2015 to manage and
    28   administer the PLANS in compliance with the documents for each PLAN and applicable
                                                      14
                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   statutes and code sections and Plaintiffs regarding the PENSION PLANS’ terminations
     2   and rollovers.
     3      68. SMI breached its duties to Plaintiffs by failing to advise Plaintiffs about the
     4   consequences of the termination and rollover plan; failing to advise Plaintiffs to
     5   reverse/stop the termination of the PENSION PLANS and rollovers into the CHEAP
     6   PROFIT SHARING PLAN and the KELLER 401K in violation of the Qualified
     7   Replacement Plan requirements codified in 26 U.S.C. § 4980(d)(2); and failing to advise
     8   Plaintiffs of the employee vesting consequences of termination of the PENSION PLANS,
     9   and also miscalculating the employee distribution amounts owed.
    10      69. Each of the Defendants is the alter ego, agent, servant, or successor to the other
    11   Defendants. Therefore, the aforementioned breaches of any Defendant are breaches of all
    12   of the Defendants.
    13      70. As a result of Defendants’ breaches, and others which will be established
    14   according to proof, Plaintiffs have and will continue to incur damages, including payment
    15   of IRS excise taxes, income taxes, penalties, and interest for the overfunded amounts, and
    16   the rollover amounts in violation of Qualified Replacement Plan requirements and
    17   allowances, in amounts according to proof but exceeding one million dollars for each
    18   PLAN; payment of extra QNECs as a result of the controlled group; distributions to
    19   employees who became fully vested as a result of the termination of the PENSION
    20   PLANS (which were also miscalculated by Defendants in favor of the employees); lost
    21   profits from investments foregone and other business ventures that overfund amounts
    22   would have been used to finance; new PLAN administrator’s fees; attorneys’,
    23   accountants’ and PLAN experts’ fees and costs; court costs; and related damages.
    24      71. Additionally, Plaintiffs are entitled to recover fees paid to Defendants, including
    25   annual fees for management, administration and actuarial fees for the PLANS, as well as
    26   the fees paid by Plaintiffs for the erroneously recommended terminations of the
    27   PENSION PLANS and rollovers, and related distributions and filings.
    28      72. Plaintiffs seek and are entitled to recover a judgment for damages according to
                                                      15
                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   proof, attorneys’ and experts’ fees and costs, interest, costs of suit, and such other and
     2   further relief, as the court deems proper.
     3                                 THIRD CAUSE OF ACTION
     4                              PROFESSIONAL NEGLIGENCE
     5                                    (Against All Defendants)
     6      73. Plaintiffs incorporate by reference each and every allegation contained in the
     7   paragraphs 1 through 72 above, as though fully set forth herein.
     8      74. Defendants are all professionals in the business of managing, administering,
     9   creating and/or performing actuarial services for defined benefit plans, profit sharing
    10   plans, and 401K plans, and performed those functions for the Plaintiffs and the PLANS.
    11      75. Defendants owed duties of care to Plaintiffs and the PLANS to act pursuant to
    12   the standard of care for reasonably careful professionals in the retirement and benefit plan
    13   industry. Specifically, Defendants’ duties to Plaintiffs included, but were not limited to,
    14   proper assessment of the PLANS, their investments, and statutory requirements, and
    15   performance of proper actuarial calculations, so as to advise Plaintiffs regarding the
    16   appropriate annual employer contribution to the investments for the PLANS and any
    17   salary off-sets needed; making sure the PLANS and the funding in each complied with
    18   applicable statutes and revenue codes, as well as the PLAN documents; provide proper
    19   advice regarding termination of the PLANS, or other appropriate solutions to any
    20   problems which arose with the PLANS; and generally, not to cause harm or damages to
    21   Plaintiffs and the PLANS by Defendants’ acts and omissions.
    22      76. Defendants breached their duties to Plaintiffs and the PLANS, and fell below the
    23   standard of care for reasonably careful professionals in the retirement and benefit plan
    24   industry, by continuing to instruct Plaintiffs to make six-figure annual employer
    25   contributions to the investments for the PENSION PLANS for years after the PENSION
    26   PLANS became overfunded.
    27      77. Defendants breached their duties to Plaintiffs and the PLANS, and fell below the
    28   standard of care for reasonably careful professionals, by making numerous actuarial
                                                      16
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   calculation errors and not taking into account pertinent statutory code sections such as
     2   IRC Section 401(a)(17) in calculating and instructing Plaintiffs regarding the amount of
     3   the annual employer contribution to the investments for the PENSION PLANS.
     4      78. Defendants breached their duties to Plaintiffs, and fell below the standard of care
     5   for reasonably careful professionals, by advising Plaintiffs that they must terminate the
     6   PENSION PLANS because of the overfunding issue caused by Defendants (which was
     7   not the proper solution), and rollover all of the balances from the PENSION PLANS into
     8   the other PLANS (which violated 26 U.S.C. § 4980(d)(2), and other applicable statutes).
     9      79. Defendants breached their duties to Plaintiffs, and fell below the standard of care
    10   for reasonably careful professionals, by failing to advise them that termination of the
    11   PENSION PLANS would cause non-vested employees to become fully vested, and
    12   entitled to payment of full distributions (and then miscalculating those distributions).
    13      80. Defendants breached their duties to Plaintiffs, and fell below the standard of care
    14   for reasonably careful professionals, by failing to advise them of the financial
    15   ramifications of the MOZAFARI-KELLER potential marriage, and resulting creation of a
    16   controlled group, on the PLANS.
    17      81. Each of the Defendants is the alter ego, agent, servant, or successor in interest to
    18   the other Defendants. Therefore, the aforementioned breaches of any Defendant are
    19   breaches of all of the Defendants.
    20      82. After Peter L. Huntting’s death, when Defendant SMI took over the
    21   administration of the Plans, Defendant’s SMI, Edwards, and ultimately Economic Group
    22   (when it merged with SMI) breached the duties owed by each to Plaintiffs, and fell below
    23   the standard of care for reasonably careful professionals, by continuing to advise
    24   Plaintiffs to continue to terminate the Plans; not advising Plaintiffs to stop or reverse the
    25   Plan terminations; failing to advise of the amount of the overfunding of the Plans; and
    26   failing to advise and mitigate the monetary consequences to Plaintiffs of the overfunding
    27   and terminations of Plans; and miscalculating the employee distributions owed based on
    28   the erroneously advised termination of the PENSION PLANS.
                                                       17
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1      83. As a result of Defendants’ breaches, and others which will be established
     2   according to proof, Plaintiffs have and will continue to incur damages, including payment
     3   of IRS excise taxes, income taxes, penalties, and interest for the overfunded amounts, and
     4   the rollover amounts in violation of Qualified Replacement Plan requirements and
     5   allowances, in amounts according to proof but over a million dollars for each PLAN;
     6   payment of extra QNECs as a result of the controlled group; distributions to employees
     7   who became fully vested as a result of the termination of the PENSION PLANS (which
     8   were also miscalculated by Defendants); lost profits from investments foregone and other
     9   business ventures that overfund amounts would have been used to finance; pain and
    10   suffering as to the individual Plaintiffs; new PLAN administrator’s fees; attorneys’,
    11   accountants’ and PLAN experts’ fees and costs; court costs; and related damages.
    12      84. Additionally, Plaintiffs have been damaged and are entitled to recover fees paid
    13   to Defendants, including annual fees for management, administration and actuarial fees
    14   for the PLANS, as well as the fees paid by Plaintiffs for the erroneously recommended
    15   terminations of the PENSION PLANS and rollovers, and related distributions and filings.
    16      85. Plaintiffs seek and are entitled to recover a judgment for damages according to
    17   proof, attorneys’ and experts’ fees and costs, interest, costs of suit, and such other and
    18   further relief, as the court deems proper.
    19                                FOURTH CAUSE OF ACTION
    20                                         NEGLIGENCE
    21                                    (Against All Defendants)
    22      86. Plaintiffs incorporate by reference each and every allegation contained in the
    23   paragraphs 1 through 85 above, as though fully set forth herein.
    24      87. Defendants are all professionals in the business of managing, administering,
    25   creating and/or performing actuarial services for defined benefit plans, profit sharing
    26   plans, and 401K plans, and performed those functions for the Plaintiffs and the PLANS.
    27      88. It is foreseeable that harm would be caused to Plaintiffs and the PLANS by
    28   Defendants’ acts or omissions. As such, Defendants owed duties of care to Plaintiffs and
                                                      18
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   the PLANS to act pursuant to the reasonable person standard. Specifically, Defendants’
     2   duties to Plaintiffs included, but were not limited to, proper assessment of the PLANS,
     3   their investments, and statutory requirements, and performance of proper actuarial
     4   calculations, so as to advise Plaintiffs regarding the appropriate annual employer
     5   contribution to the PLANS and any salary offsets needed; making sure the PLANS and
     6   the funding in each complied with applicable statutes and revenue codes, as well as the
     7   plan documents; provide proper advice regarding termination of the PLANS, or other
     8   appropriate solutions to any problems which arose with the PLANS; and generally, not to
     9   cause harm or damages to Plaintiffs and the PLANS by Defendants’ acts and omissions.
    10      89. Defendants breached their duties to Plaintiffs and the PLANS, and fell below the
    11   standard of care for a reasonable person, by continuing to instruct Plaintiffs to make six-
    12   figure annual employer contributions to the investments for the PENSION PLANS for
    13   years after the PENSION PLANS became overfunded.
    14      90. Defendants breached their duties to Plaintiffs and the PLANS, and fell below the
    15   standard of care for reasonably careful professionals, by making numerous actuarial
    16   calculation errors and not taking into account pertinent statutory code sections such as
    17   IRC Section 401(a)(17) in calculating and instructing Plaintiffs regarding the amount of
    18   the annual employer contribution to the investments for the PENSION PLANS.
    19      91. Defendants breached their duties to Plaintiffs by advising Plaintiffs that they
    20   must terminate the PENSION PLANS because of the overfunding issue caused by
    21   Defendants (which was not the proper solution), and rollover all of the balances from the
    22   PENSION PLANS into the other PLANS (which violated 26 U.S.C. § 4980(d)(2), and
    23   other applicable statutes).
    24      92. Defendants breached their duties to Plaintiffs by failing to advise them that
    25   termination of the PENSION PLANS would cause non-vested employees to become fully
    26   vested, and entitled to payment of full distributions (and then miscalculating those
    27   distributions).
    28      93. Defendants breached their duties to Plaintiffs by failing to advise them of the
                                                      19
                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   financial ramifications of the MOZAFARI-KELLER potential marriage, and resulting
     2   creation of a controlled group, on the PLANS.
     3      94. Each of the Defendants is the alter ego, agent, servant or successor in interest to
     4   the other Defendants. Therefore, the aforementioned breaches of any Defendant are
     5   breaches of all of the Defendants.
     6      95. After Peter L. Huntting’s death, when Defendant SMI took over the
     7   administration of the Plans, Defendant’s SMI, Edwards, and ultimately Economic Group
     8   (when it merged with SMI) breached the duties owed by each to Plaintiffs to act
     9   reasonably to avoid foreseeable harm, by continuing to advise Plaintiffs to continue to
    10   terminate the Plans; not advising Plaintiffs to stop or reverse the Plan terminations;
    11   failing to advise of the amount of the overfunding of the Plans; and failing to advise and
    12   mitigate the monetary consequences to Plaintiffs of the overfunding and terminations of
    13   Plans; and miscalculating the employee distributions owed based on the erroneously
    14   advised termination of the PENSION PLANS.
    15      96. As a result of Defendants’ breaches, and others which will be established
    16   according to proof, Plaintiffs have and will continue to incur damages, including payment
    17   of IRS excise taxes, income taxes, penalties, and interest for the overfunded amounts, and
    18   the rollover amounts in violation of Qualified Replacement Plan requirements and
    19   allowances, in amounts according to proof but exceeding one million dollars for each
    20   PLAN; payment of extra QNECs as a result of the controlled group; distributions to
    21   employees who became fully vested as a result of the termination of the PENSION
    22   PLANS (which were also miscalculated by Defendants in the employees’ favor); lost
    23   profits from investments foregone and other business ventures that overfund amounts
    24   would have been used to finance; pain and suffering as to the individual Plaintiffs; new
    25   PLAN administrator’s fees; attorneys’, accountants’ and PLAN experts’ fees and costs;
    26   court costs; and related damages.
    27      97. Additionally, Plaintiffs have been damaged and are entitled to recover fees paid
    28   to Defendants, including annual fees for management, administration and actuarial fees
                                                      20
                                                           FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   for the PLANS, as well as the fees paid by Plaintiffs for the erroneously recommended
     2   terminations of the PENSION PLANS and rollovers, and related distributions and filings.
     3      98. Plaintiffs seek and are entitled to recover a judgment for damages according to
     4   proof, attorneys’ and experts’ fees and costs, interest, costs of suit, and such other and
     5   further relief, as the court deems proper.
     6                                 FIFTH CAUSE OF ACTION
     7                                                FRAUD
     8                                     (Against all Defendants)
     9      99. Plaintiffs incorporate by reference each and every allegation contained in the
    10   paragraphs 1 through 98 above, as though fully set forth herein.
    11    100. Defendant HUNTTING, through its principal PETER L. HUNTTING, omitted to
    12   tell Plaintiffs both the amount of the PENSION PLANS overfund Defendants had caused,
    13   as well as the consequences to Plaintiffs and the PENSION PLANS, during his meeting
    14   with Plaintiffs on November 4, 2014, and in subsequent communications (including
    15   letters from him dated November 4, 2014 and a November 5, 2014 email), even though,
    16   and because, he knew that those facts would be material to Plaintiffs. At the November
    17   4, 2014 meeting, and in subsequent communications. PETER L. HUNTTING advised
    18   Plaintiffs that the overfund problem could be fixed by terminating the PENSION PLANS
    19   and rolling over all of the proceeds into the CHEAP PROFIT SHARING PLAN and
    20   KELLER 401K PLAN, when, in fact, he knew that the representation was false, and
    21   intended that the Plaintiffs would rely upon it. PETER L. HUNTTING made the
    22   misrepresentations with the intent to deceive Plaintiffs and induce Plaintiffs’ reliance,
    23   resulting in extra fees to HUNTTING, and furthering HUNTTING/PETER L.
    24   HUNTTING’s attempts to avoid litigation, liability, and damage to the reputation of
    25   each.
    26    101. Defendant EDWARDS continued the ruse by concealing from Plaintiffs the
    27   amount of the overfunding of each of the PENSION PLANS throughout his interactions
    28   with them in late 2014 and throughout 2015, including, but not limited to, during the
                                                       21
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   meeting with Plaintiffs and SHEFFLER on or about May 14, 2015, and insisting to
     2   Plaintiffs that the termination of the PENSION PLANS and rollover to the other PLANS
     3   would fix the problem, even though he knew that the terminations and rollovers would
     4   not fix the problem. EDWARDS also concealed from Plaintiffs that the controlled group
     5   caused by their marriage had resulted in damages to the PLANS. He made the
     6   aforementioned statements and omissions knowing the issues were material to Plaintiffs,
     7   and with the intent to deceive Plaintiffs, and have Plaintiffs rely upon his
     8   misrepresentations. EDWARDS made the misrepresentations to Plaintiffs to try to avoid
     9   litigation, liability, damage to reputation, and justify the fees charged for terminations
    10   and rollovers.
    11    102. SHEFFLER on behalf of himself, SCA, and SMI concealed the amounts of the
    12   overfunding of the PENSION PLANS, and insisted that the termination and rollover fix
    13   was appropriate, knowing that the statements were false, and that the information would
    14   be material, during his May 14, 2015 meeting with Plaintiffs and other communications
    15   made during the termination and rollover process. The aforementioned communications
    16   and omissions were made by SHEFFLER with the intent deceive Plaintiffs, and have
    17   them rely on the statements and omissions, in order to try to avoid litigation, liability, and
    18   damage to his reputation and the reputation of his companies, and justify fees charged for
    19   the terminations and rollovers.
    20    103. Defendants conspired with one another to conceal the amount of the overfunding
    21   from Plaintiffs, and misrepresent the nature and consequences of the termination and
    22   rollover fix, to deceive Plaintiffs, in order to generate fees, avoid liability, and avoid
    23   damage to their respective reputations. Defendants’ misrepresentations were made solely
    24   for reasons of self-interest, and in complete, callous, malicious, and utter disregard of the
    25   consequences to Plaintiffs and the PLANS.
    26    104. As laypersons with regard to retirement and benefit plans, Plaintiffs reasonably
    27   relied upon the intentional misrepresentations of purported experts PETER L.
    28   HUNTTING and EDWARDS, on behalf of themselves and HUNTTING, and then
                                                       22
                                                             FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   SHEFFLER and EDWARDS, on behalf of themselves, SCA and SMI, to continue paying
     2   for the services related to the erroneous termination of the PENSION PLANS and
     3   rollovers, and Defendants’ administration, management, and advice regarding the
     4   PLANS.
     5    105. As a result of Defendants’ intentional misrepresentations, and others which will
     6   be established according to proof, Plaintiffs have and will continue to incur damages,
     7   including payment of IRS excise taxes, income taxes, penalties, and interest for the
     8   overfund amounts, and rollover amounts in violation of Qualified Replacement Plan
     9   requirements and allowances, in amounts according to proof but exceeding one million
    10   dollars for each PLAN; payment of extra QNECs as a result of the controlled group;
    11   distributions to employees who became fully vested as a result of the termination of the
    12   PENSION PLANS (which were also miscalculated by Defendants in the employees’
    13   favor); pain and suffering as to the individual Plaintiffs; lost profits from investments
    14   foregone and other business ventures that overfund amounts would have been used to
    15   finance; new PLAN administrator’s fees; attorneys’, accountants’ and PLAN experts’
    16   fees and costs; court costs; and related damages.
    17    106. Additionally, Plaintiffs have been damaged and are entitled to recover fees paid
    18   Defendants, including annual fees for management, administration and actuarial fees for
    19   the PLANS, as well as the fees paid by Plaintiffs for the erroneously recommended
    20   terminations of the PENSION PLANS and rollovers, and related distributions and filings.
    21    107. Plaintiffs seek and are entitled to recover a judgment for damages, according to
    22   proof, punitive damages, interest, costs of suit, and such other and further relief as the
    23   court deems proper.
    24                                 SIXTH CAUSE OF ACTION
    25                           NEGLIGENT MISREPRESENTATION
    26                                     (Against all Defendants)
    27    108. Plaintiffs incorporate by reference each and every allegation contained in the
    28   paragraphs 1 through 107 above, as though fully set forth herein.
                                                      23
                                                             FIRST AMENDED COMPLAINT FOR DAMAGES
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     1    109. Defendants instructed Plaintiffs that six-figure annual employer contributions to
     2   the PENSION PLANS were appropriate for several years after the PENSION PLANS
     3   could accept no more funding because, for each, the assets exceeded the obligations.
     4    110. Defendants failed to inform Plaintiffs that if they married, the marriage and the
     5   resulting controlled group would have a detrimental financial impact on the PLANS,
     6   including the requirement of payments of additional QNECs.
     7    111. Defendants instructed Plaintiffs to terminate the PENSION PLANS and rollover
     8   all of the funds into the CHEAP PROFIT SHARING PLAN and the KELLER 401K, and
     9   that the termination and rollover fix would remedy the overfund issue without damages to
    10   Plaintiffs.
    11    112. Defendants intended that Plaintiffs rely upon the above representations and
    12   omissions.
    13    113. Defendants knew or should have known at the time that they made the above
    14   statements or omissions, that the statements or omissions were false. Defendants should
    15   have known long before they informed Plaintiffs that the PENSION PLANS were
    16   overfunded; that the controlled group which would result from marriage by Plaintiffs
    17   would cause financial consequences to Plaintiffs and the PLANS; and that rather than
    18   fixing the problem, the termination of the PENSION PLANS and rollover of all of the
    19   funds to the other PLANS would cause Plaintiffs over two million dollars in damages in
    20   excise taxes, income taxes, interest and penalties because the overfunding could not be
    21   corrected within the requisite seven years, violation of 26 U.S.C. 4980(d)(2), among
    22   other statutes, and damages caused by making non-vested employees fully vested and
    23   entitled to full distributions from the terminated PENSION PLANS (and which the
    24   Defendants also misc.
    25    114. Plaintiffs reasonably relied upon the representations of Defendants HUNTTING,
    26   ESTATE and EDWARDS about annual employer contributions, and the lack of impact
    27   of Plaintiffs’ marriage on the PLANS, because Plaintiffs are laypersons with regard to
    28   retirement and benefit plans and Defendants were professed experts hired to administer,
                                                    24
                                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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     1   manage and advise Plaintiffs regarding the PLANS. Plaintiffs reasonably relied upon the
     2   representations and omissions of Defendants HUNNTING, PETER L. HUNTTING
     3   (“ESTATE”), EDWARDS, SHEFFLER, SCA and SMI regarding the erroneously
     4   asserted appropriateness of the instructed termination and rollover fix because Plaintiffs
     5   are laypersons with regard to retirement and benefit plans and Defendants were professed
     6   experts hired to administer, manage and advise Plaintiffs regarding the PLANS.
     7    115. As a result of Defendants’ negligent misrepresentations, and others which will be
     8   established according to proof, Plaintiffs have and will continue to incur damages,
     9   including payment of IRS excise taxes, income taxes, penalties, and interest for the
    10   overfund amounts, and rollover amounts in violation of Qualified Replacement Plan
    11   requirements and allowances, in amounts according to proof but exceeding one million
    12   dollars for each PLAN; payment of extra QNECs as a result of the controlled group;
    13   distributions to employees who became fully vested as a result of the termination of the
    14   PENSION PLANS (which were also miscalculated in favor of employees); lost profits
    15   from investments foregone and other business ventures that overfund amounts would
    16   have been used to finance; pain and suffering as the individual Plaintiffs; new PLAN
    17   administrator’s fees; attorneys’, accountants’ and PLAN experts’ fees and costs; court
    18   costs; and related damages.
    19    116. Additionally, Plaintiffs have been damaged and are entitled to recover fees paid
    20   Defendants, including annual fees for management, administration and actuarial fees for
    21   the PLANS, as well as the fees paid by Plaintiffs for the erroneously recommended
    22   terminations of the PENSION PLANS and rollovers, and related distributions and filings.
    23    117. Plaintiffs seek and are entitled to recover a judgment for damages, according to
    24   proof, interest, costs of suit, and such other and further relief as the court deems proper.
    25
    26          WHEREFORE, Plaintiffs pray for judgment in its favor and against Defendants
    27   for the following:
    28             1. Damages according to proof at trial;
                                                       25
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES
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     1           2. Pain and suffering;
     2           3. Punitive damages;
     3           4. Attorneys’ and experts’ fees and costs per ERISA §§ 409(a), 502(g) and 29
     4               U.S.C. §§ 1109(a), 1132(g);
     5           5. Prejudgment and post-judgment interest;
     6           6. Costs of suit;
     7           7. Such other and further relief as the court may deem proper.
     8
     9        DEMAND FOR JURY TRIAL
    10        Plaintiffs demand a trial by jury.
    11
    12   DATED: September 7, 2017                  HORTON VILLAGE LAW GROUP, APC
    13
    14
                                                   By: /s/ Lincoln V. Horton________________
    15                                             LINCOLN V. HORTON
                                                   Attorneys for Plaintiffs CHEAP EASY
    16                                             ONLINE TRAFFIC SCHOOL; BORNA
                                                   MOZAFARI AND MARLA KELLER AS
    17                                             TRUSTEES FOR CHEAP EASY ON-LINE
                                                   TRAFFIC SCHOOL PENSION PLAN;
    18                                             BORNA MOZAFARI AS TRUSTEE FOR
                                                   THE CHEAP EASY ON-LINE PROFIT
    19                                             SHARING PLAN; EASY ON LINE
                                                   TRAFFIC SCHOOL.COM, INC.; MARLA
    20                                             KELLER AS TRUSTEE FOR THE
                                                   MARLA KELLER PENSION PLAN AND
    21                                             MARLA KELLER 401(K) PLAN
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                                                   26
                                                        FIRST AMENDED COMPLAINT FOR DAMAGES
